                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                   )
                                           )
v.                                         )       NO. 3:12-00013
                                           )       JUDGE CAMPBELL
MANILA VICHITVONGSA, et al.                )


                                           ORDER


       Pending before the Court is an Unopposed Motion To Dismiss Pre-trial Motions Without

Prejudice (Docket No. 291). The Motion is GRANTED. Accordingly, Defendant’s Motion To

Suppress Alleged Statements By Defendant (Docket No. 254) and Motion To Dismiss For Lack

Of Jurisdiction (Docket No. 256) are WITHDRAWN, without prejudice to being refiled.

       Only Defendants who have motions to dismiss to be considered at the hearing set for

December 13, 2012 (Docket Nos. 239, 243, 246) need to attend the hearing.

       IT IS SO ORDERED.



                                                   __________________________________
                                                   TODD J. CAMPBELL
                                                   UNITED STATES DISTRICT JUDGE




 Case 3:12-cr-00013       Document 292         Filed 12/12/12   Page 1 of 1 PageID #: 772
